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 GENERAL COUNSEL FOR
 ROBERT YAQUINTO, JR., CHAPTER 7 TRUSTEE

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
   IN RE:                                          §   CASE NO. 18-32123-SGJ-7
                                                   §   CASE NO. 18-32124-SGJ-7
   JRJR33, INC., and                               §
   THE LONGABERGER COMPANY                         §   Jointly Administered Under
                                                   §   Case No. 18-32123-SGJ-7
   DEBTORS.                                        §

  NOTICE OF FINAL SETTLEMENT PAYMENT RELATED TO ORDER GRANTING
    TRUSTEE’S MOTION, PURSUANT TO FEDERAL RULE OF BANKRUPTCY
  PROCEDURE 9019, FOR ENTRY OF AN ORDER APPROVING SETTLEMENT AND
    COMPROMISE WITH DEBTOR’S FORMER DIRECTORS, OFFICERS, AND
     CERTAIN RELATED PARTIES, INCLUDING BAR ORDER PROHIBITING
        PARTIES FROM ASSERTING CERTAIN CLAIMS [DKT. NO. 228]

 TO THE HONORABLE STACEY G. C. JERNIGAN,
 UNITED STATES BANKRUPTCY JUDGE:

         NOW COMES, Robert Yaquinto, Jr., as Chapter 7 Trustee for the above referenced debtors

 (the “Trustee”) and files this Notice of Final Settlement Payment Related to Order Granting

 Trustee’s Motion, Pursuant to Federal Rule of Bankruptcy Procedure 9019, for Entry of an Order

 Approving Settlement and Compromise with Debtor’s Former Directors and Officers and Certain

 Related Parties, Including Bar Order Prohibiting Parties from Asserting Certain Claims [Dkt. No.

 228], and in support thereof respectfully states as follows:


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                                     I.     BACKGROUND

        1.      On October 15, 2021, the Court entered the Order Granting Trustee’s Motion,

 Pursuant to Federal Rule of Bankruptcy Procedure 9019, for Entry of an Order Approving

 Settlement and Compromise with Debtor’s Former Directors and Officers and Certain Related

 Parties, Including Bar Order Prohibiting Parties from Asserting Certain Claims [Dkt. No. 228]

 (the “Order”). The Order authorized the Trustee to carry out the Settlement Agreement (see Dkt.

 No. 220, Ex. B) with the defendants in the adversary case styled Yaquinto v. Rochon, et al., Adv.

 No. 20-03085-SGJ and certain defendants in the adversary case styled Yaquinto v. JGB Collateral,

 LLC, et al., Adv. No. 20-03086-SGJ.

        2.      The cash consideration described in the Settlement Agreement consisted of two

 components: (i) an “Initial Settlement Payment” of $3.2 million; and (ii) a “Final Settlement

 Payment” that was to be determined after defense counsel had submitted their final invoices for

 defense costs to the carrier for payment. The amount of the Final Settlement Payment was not

 known with certainty at the time the Settlement Agreement was approved as defense counsel had

 additional time thereafter to submit all requests for reimbursement. The purpose of this Notice is

 to update the Court and parties-in-interest as to the amount of the Final Settlement Payment.

        3.      All but approximately $200,000 in Policy Proceeds was spoken for after the Initial

 Settlement Payment, pre-approved defense costs, and a $50,000 reserve to be retained by the

 carrier. The Settlement Agreement contemplated that final defenses costs would be paid from

 these remaining Policy Proceeds and any surplus would then go to the Trustee, and this was defined

 as the “Final Settlement Payment” in the Settlement Agreement. See Dkt. No. 220, Ex. B, pg. 5 ¶

 2.




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           4.      Furthermore, the Order Granting Application of Rochelle McCullough, LLP for

 Fees and Expenses as Trustee’s Special Litigation Counsel [Dkt. No. 229] (the “Fee Order”)

 authorized the Trustee to pay the firm 40% of the “Final Settlement Payment.”

                                II.      FINAL SETTLEMENT PAYMENT

           5.      After payment of final defense costs, the Final Settlement Payment amounted to

 $155,181.02 in surplus Policy Proceeds paid to the Trustee, split equally1 between the Estates of

 JRjr33, Inc. and The Longaberger Company.

           6.      40% of the Final Settlement Payment, or $62,072.40, was paid to Rochelle

 McCullough pursuant to their contingent fee approved by the Fee Order.

           7.      A summary of the allocation of the Initial Settlement Payment, Final Settlement

 Payment, and special counsel fees and expenses is as follows:

                                 Estate of JRjr33, Inc.       Estate of The                   Total
                                                              Longaberger Company
     Initial Settlement          $1,600,000.00                $1,600,000.00                   $3,200,000.00
     Payment
     Plus Final Settlement       $77,590.51                   $77,590.51                      $155,181.02
     Payment
     Total Settlement            $1,677,590.51                $1,677,590.51                   $3,355,181.02
     Payment to the
     Estates
     Less 40% Attorneys’         ($640,000.00)                ($640,000.00)                   ($1,280.000.00)
     Fees from Initial
     Settlement Payment
     Less Litigation             ($38,040.82)                 ($38,040.83)                    ($76,081.65)
     Expenses
     Less 40% Attorneys’         ($31,036.20)                 ($31,036.20)                    ($62,072.40)
     Fees from Final
     Settlement Payment
     Net Settlement              $968,513.49                  $968,513.48                     $1,937,026.97
     Payment to the
     Estates


 1
   As provided in the Order, the Trustee was authorized to allocate the Settlement Payment equally between the
 bankruptcy estates, but notwithstanding this authorization, the Trustee and all parties-in-interest have the right to
 further petition the Court should they believe a different allocation is more appropriate. See Dkt. No. 228, pg. 3 ¶ C.


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        Dated: February 2, 2022.

                                             Respectfully submitted,

                                             ROCHELLE MCCULLOUGH, LLP

                                                 /s/ Kathryn G. Reid
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                                                 Kathryn G. Reid
                                                 State Bar No. 24068126
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                                             BANKRUPTCY COUNSEL FOR
                                             ROBERT YAQUINTO, JR., CHAPTER 7 TRUSTEE




                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on February 2, 2022, a true and correct copy of the
 foregoing document was served via the Court’s ECF system on all parties registered to receive
 electronic notice in this case.


                                                            /s/ Kathryn G. Reid
                                                            Kathryn G. Reid




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